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PROB 35A      ORDER TERMINATING TERM OF SUPERVISED RELEASE
                PRIOR TO EXPIRATION DATE - NOTICE OF DEATH


                          UNITED STATES DISTRICT COURT
                                    FOR THE
                         EASTERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA                            )
                                                    )
                           vs.                      )       Docket Number: 2:02CR00287-02
                                                    )
Michael STAGGS                                      )
                                                    )


On December 22, 2003, the above-named was placed on Supervised Release for a period
of 3 years. On October 31, 2006, this office was notified by the Bureau of Prisons that
Mr. Staggs was confirmed dead by the Federal Medical Center, Butner, North Carolina, on
October 15, 2006. It is accordingly recommended that this case be closed.

                                     Respectfully submitted,

                                      /s/ Richard A. Ertola

                                RICHARD A. ERTOLA
                      Supervising United States Probation Officer

Dated:       November 1, 2006
             Roseville, California
             rae:cd


                                      ORDER OF COURT

It is ordered that the proceedings in this case be terminated and the case closed.

November 2, 2006
                                                        _______________________________________
Date                                                    FRANK C. DAMRELL, JR.
                                                        UNITED STATES DISTRICT JUDGE
cc:  United States Attorney's Office
     Fiscal Clerk, Clerk's Office


                                                                                                 Rev. 05/2006
                                                             EARLY TERMINATION ~ ORDER (PROB35A) DEATH.MRG
